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                                                                                      ________           __                      ____
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 Fill in this information to identify the case:
 Debtor name Iiam Holdings, LLC
 United States Bankruptcy Court for the: CENTRAL DISTRICT OF                                                                                0 Check if this is an
                                                CALIFORNIA
 Case number (if known):         2:22-bk-I 4708-DS                                                                                               amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter II or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and         Name, telephone number Nature of claim                 Indicate if claim   Amount of claim
complete mailing address,    and email address of   (for example, trade              is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code           creditor contact       debts, bank loans,              unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                    professional services,              disputed        value of collateral or setoff to calculate unsecured claim.
                                                    and government                                      Total claim, if            Deduction for value        Unsecured claim
                                                    contracts)                                          partially secured          of collateral or setoff
A2lBeverlywoodlAA                                      Pest control                                                                                                       $1 29.00
A Pest Control
PC Box 249
Lawndale, CA 90260
Athens Services                                        Trash bill for                                                                                                     $244.00
14048 East Valley                                      Cherokee Ave
Blvd.
La Puente, CA 91746
Franchise Tax                                          Unpaid taxes                                                                                                    Unknown
Board
Bankruptcy Section
MS: A-340
P0 Box 2952
Sacramento, CA
95812-2952
IRS                                                    Unpaid tax                                                                                                      Unknown
P.O. Box 7346
Philadelphia, PA
19101
LADWP                                                  UtilityforBenAve                                                                                              $16,019.77.
111 N. Hope St.
Los Angeles, CA
90012
Mercedez Benz                                          2020                                                     $43,000.00                         $0.00             $43,000.00
Financial                                              Mercedez-Benz
14372 Heritage                                         GLS4 (leased
Pkwy,                                                  vehicle)
Fort Worth, TX
76177
Republic Services                                      Utility for Ben Ave                                                                                             $2,503.00
12949 Telegraph Rd.
Santa Fe Springs,
      90670
 CA




 Reveles                                               Services                                                                                                          $225.00
 Landscaping
 15888 Roxford St.,
 Sylmar,     CA     91342
                                                                                I




Official form 204                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                   page 1
                    Case 2:22-bk-14708-DS              Doc 22 Filed 09/12/22 Entered 09/12/22 22:04:11                                                  Desc
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Debtor                                                                                              Case number (if known)         2:22-bk-I 4708-DS
           William Holdings, LLC
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim
                                                                                                   Total claim, if            Deduction for value        Unsecured claim
                                                                                                   partially secured          of collateral or setoff
  SCE                                                Utility bill                                                                                                       $0.00
  2244 Walnut Grove
; Ave
  Rosern cad, CA
  91770
  SoCal Gas                                          Gas bill                                                                                                           $0.00
  1801 S. Atlantic
  Blvd.
  Monterey Park, CA
  91754
  U.S. Small Business                                Assets of the             Disputed                   $486,000.80                         $0.00            $486,000.80
  Administration                                     Debtor per UCC
  do Elan S. Levey                                   Financing
  300 N. Los Angeles                                 Statement
  Street
  Fed. Bldg. Rm. 7516
  Los Angeles, CA
  90012




                                        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
Official form 204
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_________
                                       ___________
                                                                         _______________________________
            _______________________________________________________________________________________
                                                                 _________________
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          Case 2:22-bk-14708-DS                   Doc 22 Filed 09/12/22 Entered 09/12/22 22:04:11                             Desc
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Fill in this information to identify the case:
Debtor name      William Holdings, LLC

United States Bankruptcy Court for the:   CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)        2:22-bk-14708-DS
                                                                                                                   D Check if this is an
                                                                                                                     amended filing



Official Form 2D6Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                 12115

          Summary       of   Assets




1    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     la. Real property:                                                                                                        27,364,200.00
         Copy line 88 from Schedule A/B                                                                                $

     lb. Total personal property:                                                                                                  225,562.00
         Copy line 91A from Schedule A/B                                                                               $

     ic. Total of all property:                                                                                                27,589,762.00
         Copy line 92 from Schedule A/B
                                                                                                                       $


ITiP Summary of Liabilities


2,   Schedule 0: Creditors Who Have Claims Secured by Property (Official Form 206D)                                            17,641,358.61
                                                                                                                       $
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D


3.   Schedule EJF: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:                                                                                 0.00
                                                                                                                       $
         Copy the total claims from Part 1 from line 5a of Schedule ElF

     3b. Total amount of claims of nonpriority amount of unsecured claims:                                                          19,120.77
                                                                                                                      +$
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule ElF


4.   Total habilities
                                                                                                                   r7,6609.3J




Official Form 2O6Sum                         Summary of Assets and Liabilities for Non-Individuals                                    page 1
                                                                                        ___________________




              Case 2:22-bk-14708-DS                   Doc 22 Filed 09/12/22 Entered 09/12/22 22:04:11                                   Desc
                                                      Main Document     Page 7 of 43
     Fill in this information to identity the case:

     Debtor name     William Holdings, LLC

     United States Bankruptcy Court for the:   CENTRAL DISTRICT OF CALIFORNIA

     Case number (if known)   2:22-bk-14708-DS
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



 Official Form 206A1B
 Schedule_A/B: Assets                          -       Real and Personal Property                                                        12/15
 Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
 Include all property in which the debtor holds rights and powers exercisable for the debtor’s own benefit. Also include assets and properties
 which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
 or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

 Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
 the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
 additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

  For Part I through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
  schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
  debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 III           Cash and cash equivalents
 1 Does the debtor have any cash or cash equivalents?

      flNo. GotoPart2.
      [11 Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                             Current value of
                                                                                                                                 debtor’s interest
 3.          Checking, savings, money market, or financial brokerage accounts (Identify all)
             Name of institution (bank or brokerage firm)         Type of account                     Last 4 digits of account
                                                                                                      number
                   First Citizens Bank
            3.1.   checking account ending in 8018                                                                                           $75,000.00



                   First Citizens Bank
            3.2.   checking account ending in 7798                                                                                            $1,500.00



                   First Citzens Bank
            3.3.   checking account ending in 7838                                                                               -
                                                                                                                                                $500.00



                   First Citizens Bank
            3.4.   checking account ending in 4348                                                                               —
                                                                                                                                                $500.00



                   First Citizens Bank
            3.5.   checking account ending in 7763                                                                               —              $800.00


                   First Citizens Bank
            3.6.   checking account ending in 7803                                                                                           $2,000.00



4.          Other cash equivalents (Identify all)


Official Form 206A1B                                  Schedule A/B Assets   -   Real and Personal Property                                        page 1
                                                                                                                                                 _____________________




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                                                                Main Document     Page 8 of 43
 Debtor            William Holdings, LLC                                                                  Case number    (If known)        2:22-bk-14708-DS
                   Name

 5.            Total of Part 1.                                                                                                                            $80,300.00
               Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.                                  L________________________
ITiW         Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      [1J   No. Go to Part 3.
      El    Yes Fill in the information below.


I1i          Accounts receivable
10. Does the debtor have any accounts receivable?

      fl No. Go to Part 4.
      RJ Yes Fill in the information below.
 11.          Accounts receivable
                                                        $1 25,000.00
               ha. 90 days old or less:          (uncollected renj_                 -                                    0.00   =   ....                      $125,000.00
                                            face amount                                    doubtful or uncollectible accounts




 12.           TotalofPart3.                                                                                                                             $125,000.00
               Current value on lines ha   +    lib   =   line 12. Copy the total to line 82.                                                  L_____________________
I;1i Investments
13. Does the debtor own any investments?

      [j No. Go to PartS.
      [j Yes Fill in the information below.

ITiI.        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      [1    No. Go to Part 6.
      fl    Yes Fill in the information below.


ITi( Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      [No. GotoPart7.
      fl Yes Fill in the information below.

IIiW         Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      [JNo. GotoPart8.
      fl Yes Fill in the information below.

I1iI         Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      flNo. GotoPart9.
      [ji] Yes Fill in the information below.
              General description                                                       Net book value of         Valuation method used             Current value of
              Include year, make, model, and identification numbers                     debtor’s interest         for current value                 debtor’s interest
              (i.e., yIN, HIN, or N-number)                                             (Where available)


Official Form 206NB                                             Schedule A/B Assets         -   Real and Personal Property                                          page 2
                                                                                              __________
                                                                       ______




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Debtor                                                                                 Case number (If known) 2:22-bk-14708-DS
             Na me

47.      Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

         47.1     2020 Mercedez-Benz GLS4 (leased
                                                                                     $0.00                                                 $0.00
                  vehicle)


         47.2.    2007 Toyota Tundra with 150,000 miles.
                                                                                     $0.00                                          $7,262.00
                  The vehicle ispd in full.



48.      Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
         floating homes, personal watercraft, and fishing vessels

49.      Aircraft and accessories


50.      Other machinery, fixtures, and equipment (excluding farm
         machinery and equipment)
         Refrigerators and stove in all the units                                    $0.00                                        $13.000.00




51.      Total of Part8.                                                                                                       $20,262.00
         Add lines 47 through 50. Copy the total to line 87.

52.      Is a depreciation schedule available for any of the property listed in Part 8?
             No
         fl Yes
53.      Has any of the property listed in Part 8 been appraised by a professional within the last year?
         1 No
         El Yes
 •-•         Real property
54. Does the debtor own or lease any real property?

  fl   No. Go to Part 10.
       Yes Fill in the information below.

55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

         Description and location of            Nature and           Net book value of         Valuation method used   Current value of
         property                               extent of            debtor’s interest         for current value       debtor’s interest
         Include street address or other        debtor’s interest    (Where available)
         description such as Assessor           in property
         Parcel Number (APN), and type
         of property (for example,
         acreage, factory, warehouse,
         apartment or office building, if
         available.
          55.1.   5616 Lexington Ave.,
                  Los Angeles, CA
                  90038 (29 units
                  apartment building)           100%                                  $0.00                                    $7,500,000.00


          55.2.   1847 North Cherokee
                  St., Los Angeles, CA
                  90028 (19 units
                                                100%                                  $0.00                                    $5,500,000.00
                  apartment building)




Official Form 206NB                                Schedule A/B Assets   -   Real and Personal Property                                    page 3
                                                                                                                     -




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 Debtor       William Holdings, LLC                                                       Case number (If known) 2:22-bk-14708-DS
              Name

          55.3.   126 N. Lake St., Los
                  Angeles, CA 90006 (6
                  unit multi-family
                  apartment building)            100%                                   $0.00                                   $1,713,600.00


          55.4.   5731 Carlton Way,
                  Los Angeles, CA
                  90028 (12 units
                  apartment buildinci)           100%                                   $0.00                                   $2,937,600.00


          55.5.   6821 Ben Aye, Los
                  Angeles, CA 91605 (7
                  unit apartment
                  building)                     100%                                   $0.00                                    $2,000,000.00


          55.6.   3256 Dos Palos, Los
                  Angeles, CA 90068 (2
                  unit building)                100%                                   $0.00                                    $2,400,000.00


          55.7.   6650 Em met Terrace,
                  Los Angeles, CA (7
                  unit apartment
                  building)                     100%                                                                            $2,500,000.00


          558.    7135 Hollywood
                  Blvd., #701, Los
                  Angeles, CA 90046
                  (condo unit)                  100%                                                                                $913,000.00



          55.9.   5617 Virginia Ave.,
                  Los Angeles, CA
                  90038 (13 unit
                  apartment building)           100%                                                                           $1,900,000.00




56.       Total of Part 9.                                                                                                  $27,364,200.00
          Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
          Copy the total to line 88.

57.       Is a depreciation schedule available for any of the property listed in Part 9?
          No
          fl Yes
58.       Has any of the property listed in Part 9 been appraised by a professional within the last year?
          No
          [1 Yes
tangibIes and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

   F1No. GotoPartli.
   H Yes Fill in the information below.

               All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
Official Form 206A1B                                 Schedule A/B Assets Real and Personal Property
                                                                            -                                                            page 4
                                      _____ _____
                                        _____     __________________
                                              _____



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                                                                                        Case number (If known) 2:22-bk-14708-DS
Debtor
             Name


  LiNo.    GotoPartl2.
  i} Yes   Fill in the information below.
                                                                                                                        Current value of
                                                                                                                        debtor’s interest



71.      Notes receivable
         Description (include name of obligor)

72.      Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

73.      Interests in insurance policies or annuities
                                                                  lawsuit
74.      Causes of action against third parties (whether or not a
         has been filed)
                                                                    action of
75.      Other contingent and unhiquidated claims or causes of
                nature, includ ing counte rclaim s of the debtor and rights to
         every
         set off claims
          Debtor may have claims against Phil Fahey, Brent
                                                                         o,
         Carrier, Elizabeth Zeeland, Jennifer Tom, Joy Gallard
                  line  Sando  val, Juhian  ne Diaz,   Ronda ld  Diaz, Ira
         Jacque
          Mandel for fraud, identify theft, embezzlement, larceny                                                                   Unknown
         jyick
          Nature of claim
          Amount requested                                      $0.00



 76.       Trusts, equitable or future interests in property
                                                               les: Season tickets,
 77.       Other property of any kind not already listed Examp
           country club membe rship


 78.       TotalofPartll.
           Add lines 71 through 77. Copy the total to line 90.
                                                                                                                    EEThJ
                                                                  ed by a professional within the last year?
 79.       Has any of the property listed in Part 11 been apprais
           No
           [J Yes




                                                                                                                                            page 5
                                                       Schedule NB Assets        Real and Personal Property
 Official Form 206A13
                                                                            -
                                                                              ______—
                                                                                   ___________




           Case 2:22-bk-14708-DS                   Doc 22 Filed 09/12/22 Entered 09/12/22 22:04:11                                     Desc
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 Debtor      William Holdings, LLC                                                      Case number         (If known) 2:22-bk-14708-DS
             Name




In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                      Current value of                   Current value of real
                                                                            personal property                  property

80.   Cash, cash equivalents, and financial assets.
      Copy line 5, Part 1                                                              $80,300.00

81.   Deposits and prepayments. Copy/The 9, Part 2.                                            $0.00

82. Accounts receivable. Copy line 12, Part 3.                                        $1 25,000.00

83.   Investments. Copy//ne 17, Part 4.                                                        $0.00

84.   Inventory. Copy line 23, Part 5.                                                         $0.00

85.   Farming and fishing-related assets. Copy line 33, Part 6.                                $0.00

86.   Office furniture, fixtures, and equipment; and collectibles.
      Copy line 43, Part 7.
                                                                                               $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                          $20,262.00


88.   Real property. Copy line 56, Part 9                                                        >                           $27,364,200.00

89.   Intangibles and intellectual property. Copy line 66, Part 10.                            $0.00

90.   All other assets. Copy line 78, Part 11.                                                 $0.00_

91.   Total. Add lines 80 through 90 for each column                               $225,562.00          +   91b.            $27,364,200.00


92.   Total of all property on Schedule A/B. Add lines 91 a+91 b=92




Official Form 206A1B                              Schedule A/B Assets   -   Real and Personal Property                                        page 6
                                                                                          ____
                                                                         ___________
                                        _____




             Case 2:22-bk-14708-DS                          Doc 22 Filed 09/12/22 Entered 09/12/22 22:04:11                                          Desc
                                                            Main Document    Page 13 of 43
Fill in this information to identify the case:
Debtor name           William Holdings, LLC

United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)              2:22-bk-14708-DS
                                                                                                                                             Check if this is an
                                                                                                                                             amended filing


Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15

Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtors property?
                                                                                                                                          this form.
        No. Check this box and submit page 1 of this form to the court with debtors other schedules. Debtor has nothing else to report on
     • Yes. Fill in all of the information below.

IFTh          List   Creditors Who Have Secured Claims
                                                                                                                   Column A                     Column B
2. List in alphabetical order all creditors who have secured claims, If a creditor has more than one secured                                   Value of collateral
claim, list the creditor separately for each claim.                                                                Amount of claim
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
                                                    Describe debtor’s property that is subject to a lien                $1,450,000.00             $2,000,000.00
IjAxos Bank
       Creditor’s Name                              6821 Ben Aye, Los Angeles, CA 91605 (7 unit
       Aftn: Michelle Barisdale                     apartment building)
       4350 La Jolla Village Dr.
       Ste. 140
       San Dieao, CA 92122
       Creditor’s mailing address                   Describe the lien
                                                    Deed of Trust
                                                    Is the creditor an insider or related party?
                                                    •No
       Creditor’s email address, if known               Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                       • No
       2017                                         O   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
       ONo                                          0 Contingent
       • Yes. Specify each creditor,                0 Unliquidated
       including this creditor and its relative     K Disputed
       priority.
       1. Axos Bank
       2. Los Angeles County Tax
       Collector

                                                    Describe debtors property that is subject to a lien                 $1,127,168.26              $2,500,000.00
LJ.hase Bank
       Creditors Name                               6650 Emmet Terrace, Los Angeles, CA (7 unit
                                                    apartment building)
       1111 Polaris Pkwy
       Columbus, OH 43240
       Creditor’s mailing address                   Describe the lien
                                                    Mortaaae
                                                    Is the creditor an insider or related party?
                                                     • No
       Creditors email address, if known            0 Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        ONo
       2005                                          • Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number


                                                  Schedule D: Creditors Who Have Claims Secured by Property                                                page lofil
Official Form 206D
                                 ________
                                  _____
                             __________
            _________




           Case 2:22-bk-14708-DS                          Doc 22 Filed 09/12/22 Entered 09/12/22 22:04:11                                         Desc
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Debtor      William Holdings, LLC                                                                     Case number (if known)      2: 22-bk-i 4708-DS
            Name

     8848
     Do multiple creditors have an               As of the petition filing date, the claim is:
     interest in the same property?              Check all that apply
     CN0                                         C Contingent
         Yes. Specify each creditor,             C    Unliquidated
     including this creditor and its relative    C    Disputed
     priority.
     1. Chase Bank
     2. Michael and Ann
     Popovich

     Frank Romanose                              Describe debtor’s property that is subject to a lien                          $470,000.00      $2,937,600.00
     Creditor’s Name                             5731 Carlton Way, Los Angeles, CA 90028 (12
                                                 units apartment building)
     4557 Cam illia Ave
     North Hollywood,_CA 91602
     Creditor’s mailing address                  Describe the lien
                                                 fsspy Note
                                                 Is the creditor an insider or related party?
                                                 CNo
     Creditor’s email address, if known          • Yes
                                                 Is anyone else liable on this claim?
     Date debt was incurred                       • No
     7/1 012007                                   C   Yes. Fill Out Schedule H. Codebtors (Official Form 206H)
     Last 4 digits of account number
     5006
     Do multiple creditors have an               As of the petition filing date, the claim is:
     interest in the same property?              Check all that apply
     CN0                                         C Contingent
     • Yes. Specify each creditor,                C Unliquidated
     including this creditor and its relative     • Disputed
     priority.
     1. Standard Oil Credit
     Investments LLC
     2. Los Angeles County Tax
     Collector
     3. Frank Romanose
     4. Satinder Sadhar


                                                  Describe debtor’s property that is subject to a lien
                                                                                                                                     $0.00        $913,000.00
     Tower HOA
     Creditor’s Name                              7135 Hollywood Blvd., #701, Los Angeles, CA
      do Ross Morgan & Co.                        90046 (condo unit)
      P0 Box 512019
      Los Angç A 90051
      Creditor’s mailing address                  Describe the lien
                                                  HOA Dues
                                                  Is the creditor an insider or related party?
                                                  •No
      Creditor’s email address, if known          C   Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                      • No
      2000                                        C Yes. Fill    Out   Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      6622
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




                                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 2 of II
Official Form 206D
                                    __
                                     __
                         ___________
                         ___________




              Case 2:22-bk-14708-DS                         Doc 22 Filed 09/12/22 Entered 09/12/22 22:04:11                                    Desc
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Debtor         William Holdings, LLC                                                                  Case number (if known)     2:22-bk-14708-DS
               Name

        DNo                                        O   Contingent
        • Yes. Specify each creditor,              C   Unhiquidated
        including this creditor and its relative   C   Disputed
        priority.
        1. Newrez
        2. Los Angeles County Tax
        Collector
        3. Hollywood Versailles
        Tower HOA

        Los Angeles County Tax
25                                                 Describe debtor’s property that is subject to a lien                        $26,110.00    $2,937,600.00
        Collector
        Creditors Name                             5731 Carlton Way, Los Angeles, CA 90028 (12
                                                   units apartment building)
        225 N. Hill St., #1
        Los Angeles, CA 90012
        Creditors mailing address                  Describe the lien
                                                   Ppia
                                                   Is the creditor an insider or related party?
                                                   •No
        Creditors email address, if known              Yes
                                                   Is anyone else liable on this claim?
        Date debt was incurred                     •No
        2022                                       D Yes. Fill out    Schedule H; Codebtors (Official Form 206H)
        Last 4 digits of account number
        5016
        Do multiple creditors have an              As of the petition filing date, the claim is:
        interest in the same property? t           Check all that apply
        DN0                                           Contingent
        • Yes. Specify each creditor,              D   Unhiquidated
        including this creditor and its relative   O   Disputed
        priority
        Specified on line 2.3

        Los Angeles County Tax                                                                                                               $5,500,000.00
2   6                                              Describe debtor’s property that is subject to a lien                        $51,590.00
        Collector
        Creditors Name                             1847 North Cherokee St., Los Angeles, CA
                                                   90028 (19 units apartment building)
        225 N. Hill St., #1
        Los Angeles, CA 90012
        Creditors mailing address                  Describe the lien

                                                   Is the creditor an insider or related party?
                                                   • No
        Creditors email address, if known          C Yes
                                                   Is anyone else liable on this claim?
        Date debt was incurred                     • No
        2022                                       C Yes.   Fill out Schedule H; Codebtors (Official Form 206H)
        Last 4 digits of account number
        3010
        Do multiple creditors have an              As of the petition filing date, the claim is:
        interest in the same property?             Check all that apply
        ONo                                        C Contingent
        I Yes. Specify each creditor,              O Unliquidated
        including this creditor and its relative   C   Disputed
        priority
        1. Pacific Premier Bank
        2. Los Angeles County Tax
        Collector




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 3 of II
                                                                                               ___________
                   __________________




            Case 2:22-bk-14708-DS                            Doc 22 Filed 09/12/22 Entered 09/12/22 22:04:11                                    Desc
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 Debtor      William Holdings, LLC                                                                   Case number (if known)       2:22-bk-14708-DS
             Name


 27    Los Angeles County Tax
       Collector                                   Describe debtor’s property that is subject to a lien                       $48,933.00      $7,500,000.00
       Creditor’s Name                             5616 Lexington Ave., Los Angeles, CA 90038
                                                   (29 units apartment building)
       225 N. Hill St., #1
       Los Angeles, CA 90012
       Creditor’s mailing address                  Describe the lien
                                                   Property tax
                                                   Is the creditor an insider or related party?
                                                   •No
      Creditors email address, if known                Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                       • No
       2022                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
      7005
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
      DN0                                              Contingent
       I  Yes, Specify each creditor,              C   Unliquidated
      including this creditor and its relative     C   Disputed
      priority.
      1. Pacific Premier Bank
      2. Los Angeles County Tax
      Collector

      Los Angeles County Tax
 28                                                                                                                           $12,661.00   —__$1,713,600.00
      I Collector                                  Describe debtor’s property that is subject to a lien
      Creditor’s Name                              126 N. Lake St., Los Angeles, CA 90006 (6
                                                   unit multi-family apartment building)
      225 N. Hill St., #1
      Los Angeles, CA 90012
      Creditor’s mailing address                   Describe the lien
                                                   Property tax
                                                   Is the creditor an insider or related party?
                                                   • No
      Creditor’s email address, if known           D Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                       INo
      2022                                             Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      0035
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
      DN0                                              Contingent
      • Yes. Specify each creditor,                D   Unliquidated
      including this creditor and its relative     D   Disputed
      priority.
      1. Pacific Premier Bank
      2. Los Angeles County Tax
      Collector

      Los Angeles County Tax
29                                                 Describe debtor’s property that is subject to a lien                       $19,174.00      $2,000,000.00
      Collector
      Creditor’s Name                              6821 Ben Aye, Los Angeles, CA 91605 (7 unit
                                                   apartment building)
      225 N. Hill St., #1
      Los Angeles, CA 90012
      Creditor’s mailing address                   Describe the lien
                                                   Property tax
                                                   Is the creditor an insider or related party?
                                                   • No


Official Form 206D                    Additional Page of   Schedule D: Creditors Who Have Claims Secured by            Property                      page 4 of))
                 ____________________
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             Case 2:22-bk-14708-DS                          Doc 22 Filed 09/12/22 Entered 09/12/22 22:04:11                                     Desc
                                                            Main Document    Page 17 of 43
 Debtor       William Holdings, LLC                                                                  Case number (if known)     2: 22-bk-I 4708-DS
              Name

       Creditor’s email address, if known          D Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                      I   No
       2022                                        C   Yes. Fill out Schedule H. Codebtors (Official Form 206H)
       Last 4 digits of account number
       4006
       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
       DNo                                         C   Contingent
       I   Yes. Specify each creditor,             C   Unhiquidated
       including this creditor and its relative    C   Disputed
       priority
       Specified on line 2.1

 2.1   Los Angeles County Tax
 0     Collector                                   Describe debtor’s property that is subject to a lien                       $22,985.00      $2,400,000.00
       Creditor’s Name                             3256 Dos Palos, Los Angeles, CA 90068 (2
                                                   unit building)
       225 N. Hill St., #1
       Los Angeles, CA 90012
       Creditor’s mailing address                  Describe the lien
                                                   Propçjy tax
                                                   Is the creditor an insider or related party?
                                                   • No
       Creditor’s email address, if known          O Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                      • No
       2022                                        C   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0023
       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
       CN0                                         C   Contingent
       • Yes. Specify each creditor,               C   Unliquidated
       including this creditor and its relative    0   Disputed
       priority
       I. Specialized Portfolio
       Servicing
       2. Los Angeles County Tax
       Collector

2.1    Los Angeles County Tax
1                                                  Describe debtor’s property that is subject to a lien                        $3,500.00     $1,900,000.00
       Collector
       Creditor’s Name                             5617 Virginia Ave., Los Angeles, CA 90038 (13
                                                   unit apartment building)
       225 N. Hill St., #1
       Los Angeles,_CA 90012
       Creditor’s mailing address                  Describe the lien
                                                   Property tax
                                                   Is the creditor an insider or related party?
                                                   INo
       Creditor’s email address, if known          C Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                      • No
       2022                                        0   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7016
       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply




Official Form 206D                     Additional Page of Schedule 0: Creditors Who Have Claims Secured by Property                                  page 5 of   II
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            Case 2:22-bk-14708-DS                        Doc 22 Filed 09/12/22 Entered 09/12/22 22:04:11                                     Desc
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Debtor      William Holdings, LLC                                                                 Case number (if known)     2: 22-b k-14708-DS
            Name

      No                                         C Contingent
      • Yes. Specify each creditor,              C Unliquidated
      including this creditor and its relative   C Disputed
      priority.
      1. Los Angeles County Tax
      Collector
      2. Specialized Portfolio
      Servicing________________

2.1   Los Angeles County Tax
2
                                                 Describe debtors property that is subject to a lien                            $0.00        $913,000.00
      Collector




      Creditors Name                             7135 Hollywood Blvd., #701, Los Angeles, CA
                                                 90046 (condo unit)
      225 N. Hill St., #1
      Los Angeles, CA 90012
      Creditors mailing address                  Describe the lien
                                                 Prppy tax
                                                 Is the creditor an insider or related party?
                                                 •No
      Creditors email address, if known              Yes
                                                 Is anyone else liable on this claim?
      Date debt was incurred                     • No
      2022                                       D Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      1084
      Do multiple creditors have an              As of the petition filing date, the claim is:
      interest in the same property?             Check all that apply
      DNO                                           Contingent
      • Yes. Specify each creditor,                  Unliquidated
      including this creditor and its relative       Disputed
      priority.
      pcified on line 2.4


      Mercedez Benz Financial                    Describe debtors property that is subject to a lien                       $43,000.00              $0.00
      Creditors Name                             2020 Mercedez-Benz GLS4 (leased vehicle)
      14372 Heritage Pkwy,
      Fort Worth, TX 76177
      Creditors mailing address                  Describe the lien
                                                 Auto lease
                                                 Is the creditor an insider or related party?
                                                 • No
      Creditors email address, if known          D Yes
                                                 Is anyone else liable on this claim?
      Date debt was incurred                     •No
      218/2020                                   D   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      0001
      Do multiple creditors have an              As of the petition filing date, the claim is:
      interest in the same property?             Check all that apply
      • No                                       C Contingent
          Yes. Specify each creditor,            C Unliquidated
      including this creditor and its relative   C Disputed
      priority.




      Michael and Ann Popovich                   Describe debtors property that is subject to a lien                       $350,000.00     $2,500,000.00




Official Form 206D                   Additional Page of Schedule D: Creditors Who         Have Claims Secured by Property                         page 6   of 11
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             Case 2:22-bk-14708-DS                         Doc 22 Filed 09/12/22 Entered 09/12/22 22:04:11                                      Desc
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Debtor        William Holdings, LLC                                                                  Case number (ii’ known)      2:22-bk-14708-DS
              Name

       Creditors Name                              6650 Emmet Terrace, Los Angeles, CA (7 unit
                                                   apartment building)
       172 Mission Oaks Rd
       Falibrook, CA 92028
       Creditor’s mailing address                  Describe the lien
                                                   Promissory Note
                                                   Is the creditor an insider or related party?
                                                   •No
       Creditors email address, if known           D   Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                      UNo
       812112014                                   D   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7034
       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
       No                                          D   Contingent
       • Yes. Specify each creditor,               O   Unhiquidated
       including this creditor and its relative    • Disputed
       priority.
       Specified on line 2.2


       Newrez                                      Describe debtor’s property that is subject to a lien                        $546,618.77      $91 3,000.00
       Creditor’s Name                             7135 Hollywood Blvd., #701, Los Angeles, CA
                                                   90046 (condo unit)
       123 N. Lake Ave Ste. 100
       Pasadena, CA 91101
       Creditor’s mailing address                  Describe the lien
                                                   Loan
                                                   Is the creditor an insider or related party?
                                                   • No
       Creditor’s email address, if known          0   Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                      ONo
       2000                                        • Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       5224
       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
       No                                          0   Contingent
       • Yes. Specify each creditor,               0   Unhiquidated
       including this creditor and its relative    • Disputed
       priority.
       Specified on line 2.4

I2.1                                                                                                                       $5,342,483.00      $7,500,000.00
J_Pacific_Premier Bank                             Describe debtor’s property that is subject to a lien
       Creditor’s Name                             5616 Lexington Ave., Los Angeles, CA 90038
       17901 Von Karman Ave.                       (29 units apartment building)
       Ste. 1200
       Irvine, CA 92614
       Creditor’s mailing address                  Describe the lien
                                                   Deed of Trust
                                                   Is the creditor an insider or related party?
                                                   • No
       Creditors email address, it known           0   Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                      •No
       612015                                      0   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 7 of   II
            Case 2:22-bk-14708-DS                            Doc 22 Filed 09/12/22 Entered 09/12/22 22:04:11                                     Desc
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 Debtor      William Holdings, LLC                                                                     Case number (it known)      2:22-bk-14708-DS
             Name

      5913
      Do multiple creditors have an                  As of the petition filing date, the claim is:
      interest in the same property?                 Check all that apply
      No                                                Contingent
      • Yes. Specify each creditor,                      Unliquidated
      including this creditor and its relative        • Disputed
      priority.
      Specified on line 2.7


                                                                                                                            $3,100,800.00      $5,500,000.00
LL_J_Pacific Premier Bank                            Describe debtors property that is subject to a lien
      Creditor’s Name                                1847 North Cherokee St., Los Angeles, CA
      17901 Von Karman Ave.                          90028 (19 units apartment building)
      Ste. 1200
      Irvine, CA 92614
      Creditors mailing address                      Describe the lien
                                                     Deed of Trust
                                                     ts the creditor an insider or related party?
                                                     • No
      Creditor’s email address, if known                 Yes
                                                     Is anyone else liable on this claim?
      Date debt was incurred                         •No
      2017                                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      6471
      Do multiple creditors have an                  As of the petition filing date, the claim is:
      interest in the same property?                 Check all that apply
      No                                                Contingent
      • Yes. Specify each creditor,                      Unliquidated
      including this creditor and its relative       • Disputed
      priority.
      Specified on line 2.6


      Pacific Premier Bank                           Describe debtor’s property that is subject to a lien                   $1 ,1 93,31 3.00   $1 ,71 3,600.00
      Creditors Name                                 126 N. Lake St., Los Angeles, CA 90006 (6
      17901 Von Karman Ave.                          unit multi-family apartment building)
      Ste. 1200
      Irvine, CA 92614
      Creditor’s mailing address                     Describe the lien
                                                     Deed of Trust
                                                     Is the creditor an insider or related party?
                                                     • No
      Creditors email address,   if   known              Yes
                                                     Is anyone else liable on this claim?
      Date debt was incurred                         • No
      2017                                               Yes. Fill out Schedule H Codebtors (Official Form 206H)
      Last 4 digits of account number
      6417
      Do multiple creditors have an                  As of the petition filing date, the claim is:
      interest in the same property?                 Check all that apply
      No                                             D Contingent
      • Yes. Specify each creditor.                  D   Unhiquidated
      including this creditor and its relative       • Disputed
      priority.
      Specified on line 2.8


                                                                                                                                $300,000.00    $2,937,600.00
[J Satinder Sadhar                                   Describe debtors property that is subject to a lien




Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 8 of II
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            Case 2:22-bk-14708-DS                        Doc 22 Filed 09/12/22 Entered 09/12/22 22:04:11                                      Desc
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Debtor       William Holdings, LLC                                                                Case   number (it known)      2:22-bk-14708-DS
             Name

      Creditors Name                             5731 Carlton Way, Los Angeles, CA 90028 (12
      17 Angelo Court                            units apartment building)
                    Township,       NJ
      Monroe




      08831
      Creditors mailing address                  Describe the lien
                                                 Deed of Trust
                                                 Is the creditor an insider or related party?
                                                 •No
      Creditors email address, if known              Yes
                                                 Is anyone else liable on this claim?
      Date debt was incurred                         No
      2017                                       0   Yes. Fill out Schedule H, Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an              As of the petition filing date, the claim is;
      interest in the same property?             Check all that apply
      0 No                                       0   contingent
      • Yes. Specify each creditor,              0   Unliquidated
      including this creditor and its relative   • Disputed
      priority.
      Specified on line 2.3

2.2   Specialized Portfolio                                                                                                  $532,021.78    $2,400,000.00
0     Servicin_g_                                Describe debtors property that is subject to a lien
      Creditors Name                             3256 Dos Palos, Los Angeles, CA 90068 (2
                                                 unit building)
      8742 Lucent Blvd., Ste. 300
      Littleton, CO 80129
      Creditors mailing address                  Describe the lien
                                                 Deed of Trust
                                                 Is the creditor an insider or related party?
                                                 • No
      Creditors email address, if known          0 Yes
                                                 Is anyone else liable on this claim?
      Date debt was incurred                     0 No
      2005                                       • Yes. Fill out Schedule H, Codebtors (Official Form 206H)
      Last 4 digits of account number
      2549
      Do multiple creditors have an              As of the petition filing date, the claim is:
      interest in the same property?             Check all that apply
      0 No                                       0 Contingent
      • Yes. Specify each creditor,              0 Unhiquidated
      including this creditor and its relative   • Disputed
      priority.
      pç,fied on line 2.10

2.2   Specialized Portfolio                                                                                                                 $1,900,000.00
      Servicin                                   Describe debtors property that is subject to a lien                     $1,100,000.00
      Creditors Name                             5617 Virginia Ave., Los Angeles, CA 90038 (13
                                                 unit apartment building)
      8742 Lucent Blvd., Ste. 300
      Littleton, CO 80129
      Creditors mailing address                  Describe the lien
                                                 Deed of Trust
                                                 Is the creditor an insider or related party?
                                                 • No
      Creditors email address. if known          0 Yes
                                                 Is anyone else liable on this claim?
      Date debt was incurred                     • No
      2018                                       0   Yes. Fill out Schedule H, Codebtors (Official Form 206H)
      Last 4 digits of account number


Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 9 of 11
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              Case 2:22-bk-14708-DS                       Doc 22 Filed 09/12/22 Entered 09/12/22 22:04:11                                Desc
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Debtor        William Holdings, LLC                                                               Case number (known)      2:22-bk-14708-DS
              Name


       Do multiple creditors have an       -
                                                  As of the petition filing date, the claim is:
       interest in the same property?             Check all that apply
       DNO                                        D Contingent
       U   Yes. Specify each creditor,               Unliquidated
       including this creditor and its relative   U Disputed
       priority.
       Specified on line 2.11

2.2    Standard Oil Credit
2                                                 Describe debtor’s property that is subject to a lien              $1,415,000.00      $2,937,600.00
       Investments LLC
       Creditors Name                             5731 Carlton Way, Los Angeles, CA 90028 (12
      113 N. San Vicente BLvd.,                   units apartment building)
      Ste. 300
      ls,CA901
       Creditors mailing address                  Describe the tien
                                                  Deed of Trust
                                                  Is the creditor an insider or related party?
                                                  UNo
       Creditors email address, if known          D Yes
                                                  Is anyone etse liable on this claim?
       Date debt was incurred                     • No
       2017                                       D Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an              As of the petition filing date, the claim is:
       interest in the same property?             Check all that apply
       No                                            Contingent
       U Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative   • Disputed
       priority.
       Specified on line 2.3

2.2    U.S. Small Business                                                                                              $486,000.80            $0.00
3      Administration                             Describe debtor’s property that is subject to a lien
       Creditor’s Name                            Assets of the Debtor per UCC Financing
       do Elan S. Levey                           Statement
       300 N. Los Angeles Street
       Fed. Bldg. Rm. 7516
       Los Angeles, CA 90012
       Creditor’s mailing address                 Describe the lien
                                                  UCC Financing Statement
                                                  Is the creditor an insider or related party?
                                                  UNo
       Creditors email address, if known          0 Yes
                                                  Is anyone else liable on this claim?
       Date debt was incurred                     •No
       06/2912020                                 0 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0002
       Do multiple creditors have an              As of the petition filing date, the claim is:
       interest in the same property?             Check all that apply
       I No                                       0 contingent
       O Yes. Specify each creditor,              0 Unliquidated
       including this creditor and its relative   • Disputed
       priority




      Total of the dollar amounts from Part 1, Cotumn A, including the amounts from the Additional Page, if any.    L1,3.J
I List Others to Be Notified for a Debt Already Listed in Part I
Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page lOofli
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           Case 2:22-bk-14708-DS                       Doc 22 Filed 09/12/22 Entered 09/12/22 22:04:11                                             Desc
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Debtor     William Holdings, LLC                                                               Case number      (it known)   2:22-bk-14708-DS
           Name


List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part I did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
       Axos Bank
                                                                                                         Line   2.22
       P0 Box 80471
       City of Industry, CA 91716

       Axos Bank
                                                                                                         Line   2.22
       4350 La Jolla Village Dr., Ste. 140
       San Diego, CA 92122

       Los Angeles Counrty Tax Collector
       Bankruptcy Unit                                                                                   Line2
       P0 Box 54110
       Los Angeles, CA 90054-0027

       NewRez
                                                                                                         Line   2.15
       do PHH Mortgage
       I Mortgage Way Mount
       Mount Laurel, NJ 08054

       NewRez
                                                                                                         Line 2.15
       do Phh Mortgage
       P.O. Box 5452
       Mount Laurel, NJ 08054

       Opus Bank
                                                                                                         Line   2.17
       19900 MaCarthur Blvd., 12th Fl
       Irvine, CA 92612

       Pacific Premier Bank
                                                                                                         Line   2.16
       do Knapp Petersen Clarke
       550 North Brand Blvd., Ste. 1500
       Glendale, CA 91203

       Pacific Premier Bank
                                                                                                         Line   2.17
       do Knapp Petersen Clarke
       550 North Brand Blvd., Ste. 1500
       Glendale, CA 91203

       Pacific Premier Bank
                                                                                                         Line   2.18
       do Knapp Petersen Clarke
       550 North Brand Blvd., Ste. 1500
       Glendale, CA 91203

       Specialized Loan Servicing
                                                                                                         Line   2.20
       do Investment Mortgage Company, LL
       31194 La Baya Dr. #106
       Thousand Oaks, CA 91362




Official Form 206D               Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                           page II of II
            Case 2:22-bk-14708-DS                        Doc 22 Filed 09/12/22 Entered 09/12/22 22:04:11                                                     Desc
                                                         Main Document    Page 24 of 43
Fill in this information to identify the case:
Debtor name        William Holdings, LLC

United States Bankruptcy Court for the:         CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)           2:22-bk-14708-DS
                                                                                                                                              C    Check if this is an
                                                                                                                                                   amended filing



Official Form 206E/F
Schedule ElF: Creditors Who Have Unsecured Claims                                                                                                                        12/15
                                                                                                               Part 2 for creditors with NONPRIORITY unsecured claims.
Be as complete and accurate as possible. Use Part I for creditors with PRIORITY unsecured claims and
                                                                                                          list executory contracts on Schedule A/B: Assets Real and
List the other party to any executory contracts or unexpired leases that could result in a claim. Also
                                                                                                                                                                     -




                                                                                                        Leases (Official Form 206G). Number the entries in Parts I and
Personal Property (Official Form 206A1B) and on Schedule G: Executory Contracts and Unexpired
                                                                                                             Page of that Part included in this form.
2 in the boxes on the left, If more space is needed for Part I or Part 2, fill out and attach the Additional

List All Creditors with PRIORITY Unsecured Claims

    1. Do any creditors have priority unsecured claims? (See 11 U S.C.       § 507).
        O   No. Go to Part 2.

        S   Yes. Go to line 2.

                                                                                                priority in whole or in part. If the debtor has more than 3 creditors
     2. List in alphabetical order all creditors who have unsecured claims that are entitled to
        with priority unsecured claims, fill out and attach the Additional Page of Part 1.
                                                                                                                                 Total claim          Priority amount


          Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                                   Unknown            Unknown
                                                             Check all that apply.
          Franchise Tax Board
          Bankruptcy Section MS: A-340                       C Contingent
          P0 Box 2952                                        C   Unhiquidated
          Sacramento, CA 95812-2952                          C   Disputed


          Date or dates debt was incurred                    Basis for the claim.
                                                             Unpaid taxes

                                            2469             Is the claim subject to offset?
          Last 4 digits of account number
          Specify Code subsection of PRIORITY                 ‘No
          unsecured claim 11 U.S.C. § 507(a) ()               C Yes

          Priority creditor’s name and mailing address       As of the petition filing date, the claim is:                                    Unknown            Unknown
                                                             Check all that apply.
          IRS
          P.O. Box 7346                                       C Contingent
          Philadelphia, PA 19101                              C Unliquidated
                                                              C Disputed

          Date or dates debt was incurred                     Basis for the claim:
          2022                                                Unpaid tax

                                            2469              Is the claim subject to offset?
          Last 4 digits of account number
          Specify Code subsection of PRIORITY                 ‘No
          unsecured claim: 11 U.S.C. § 507(a) ()              C Yes


IITW List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                   debtor    has   more than 6 creditors with nonpriority unsecured claims, fill
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims, If the
         out and attach the Additional Page of Part 2.                                                                                                     Amount of claim




                                                         Schedule ElF: Creditors Who Have Unsecured Claims                                                               page 1 of 3
 Official Form 206E/F
                                                                                                 24271
             Case 2:22-bk-14708-DS                       Doc 22 Filed 09/12/22 Entered 09/12/22 22:04:11                                                Desc
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 Debtor       William Holdings, LLC                                                                  Case number      (1 known)        2:22-bk-14708-DS
              Name

 3.1
        1 Nonpriority creditors name and mailing address                   As of the petition filing date, the claim is: Check allthat apply                     $129.00
           A2IBeverIywoodIAAA Pest Control                                  C   Contingent
           P0 Box 249                                                       C   Unhiquidated
           Lawndale, CA 90260                                               C   Disputed
           Date(s) debt was incurred 2022                                   Basis for the claim:    Pest control
           Last 4 digits of account number li/a
                                                                            Is the claim subject to offset?     No   C    Yes

2
        ] Nonpriority creditors name and mailing address                    As of the petition tiling date, the claim is: Checkallthat apply                     $244.00
           Athens Services                                                  C Contingent
           14048 East Valley Blvd.                                          C   Unhiquidated
           La Puente, CA 91746                                              C   Disputed
           Date(s) debt was incurred 2022                                   Basis for the claim:    Trash bill for Cherokee Ave
           Last 4 digits of account number   5595
                                                                            Is the claim subject to offset?     No   C    Yes


 3.3   j   Nonpriority creditors name and mailing address                  As of the petition filing date, the claim is: Check all that apply                $1 6,019.77
           LADWP                                                            C   Contingent
           111 N. Hope St.                                                  C   Unhiquidated
           Los Angeles, CA 90012                                            C   Disputed
           Date(s) debt was incurred 91512018                               Basis for the claim:    Utility for Ben Ave
           Last 4 digits of account number 1000
                                                                            Is the claim subject 10 offset?     No    C   Yes

                                                                            As of the petition filing date, the claim is: Check all that apply                 $2,503.00
Li Nonpriority creditor’s name and mailing address
           Republic Services                                                C   Contingent
           12949 Telegraph Rd.                                              C   Unhiquidated
           Santa Fe Springs, CA 90670                                       C   Disputed
           Date(s) debt was incurred 2022                                   Basis for the claim:    Utility for Ben Ave
           Last 4 digits of account number 9768
                                                                            Is the claim subject to offset?     No    C   Yes

                                                                            As of the petition filing date, the claim is: Check all that apply                   $225.00
F1 Nonpriority creditor’s name and mailing address
           Reveles Landscaping                                              C   Contingent
           15888 Roxford St.,                                               C   Unliquidated
           Sylmar, CA 91342                                                 C   Disputed
           Date(s) debt was incurred 20018                                  Basis for the claim:    Services
           Last 4 digits of account number 9963
                                                                            Is the claim subject to offset?     No    C   Yes

                                                                           As of the petition filing date, the claim is: Check allthat apply                  Unknown
I6         Nonpriority creditor’s name and mailing address
           SCE                                                              C   Contingent
           2244 Walnut Grove Ave                                            C   Unhiquidated
           Rosemead, CA 91770                                               C   Disputed
           Date(s) debt was incurred 2018                                   Basis for the claim:    Utility bill
           Last 4 digits of account number   nla
                                                                            Is the claim subject to offset?     No    C   Yes


_3.7       Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is: Check allthat apply                  Unknown
           SoCal Gas                                                        C   Contingent
           1801 S. Atlantic Blvd.                                           C   Unhiquidated
           Monterey Park, CA 91754                                          C   Disputed
           Date(s) debt was incurred 2018                                   Basis for the claim:    Gas bill
           Last 4 digits of account number   5001
                                                                            Is the claim subject to offset?     No    C   Yes



              List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts I and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors


Official Form 206 E/F                                    Schedule ElF: Creditors Who Have Unsecured Claims                                                      Page 2 of 3
                                                                                               _____     ________




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Debtor      William Holdings, LLC                                                               Case number      (it known)    2:22-bk-14708-DS
            Name
  If no others need to be notified for the debts listed in Parts I and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

         Name and mailing address                                                               On which line in Parti or Part 2 is the        Last 4 digits of
                                                                                                related creditor (if any) listed?              account number, if
                                                                                                                                               any

Total Amounts of the Priority and Nonpriority Unsecured Claims
                                                                                                                                                                      —




5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                 Total of claim amounts
Sa. Total claims from Part I                                                                       5a.       $                           0.00
Sb. Total claims from Part 2                                                                       5b.   +   $                      19,120.77

Sc. Total of P:rtsland2                                                                            5c.       $                            19120.J




                                                        Schedule ElF: Creditors Who Have unsecured Claims                                                    Page 3 of 3
Official Form 206 E/F
     _______    ________________________________ ______________________________
                                                      _______     ________
                                                                                                _____     ____




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 Fill in this information to identify the case:
 Debtor name     William Holdings, LLC

 United States Bankruptcy Court for the:    CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)    2:22-bk-I 4708-DS
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                            12115

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
      O No. Check this box and file this form with the debtors other schedules. There is nothing else to report on this form.
      • Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets Real and Personal
                                                                                                                 -                              Property
(Official Form 206A1B).

 2. List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                            whom the debtor has an executory contract or unexpired
                                                                            lease

 2.1.      State what the contract or             Debtor is in the
           lease is for and the nature of         process of gathering
           the debtor’s interest                  the information for the
                                                  lease agreements,
                                                  management
                                                  agreement, and any
                                                  other executory
                                                  contracts and
                                                  unexpired leases.
                                                  Amended Schedule G
                                                  will be filed.
               State the term remaining
                                                                                  Lease Agreements
           List the contract number of any
                                contract
                 government




                                           Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
Official Form 206G
__________________________________________________________________________________________________                                    _____




          Case 2:22-bk-14708-DS                   Doc 22 Filed 09/12/22 Entered 09/12/22 22:04:11                                     Desc
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Fill in this information to identify the case:
Debtor name      William Holdings, LLC

United States Bankruptcy Court for the:   CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)    2:22-bk-14708-DS
                                                                                                                         D Check if this is an
                                                                                                                             amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                        12115

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

C No. Check this box and submit this form to the court with the debtors other schedules. Nothing else needs to be reported on this form.
• Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
    creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
    on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
          Column 1: Codebtor                                                                        Column 2: Creditor



          Name                         Mailing Address                                         Name                           Check all schedules
                                                                                                                              that apply:

   2.1    Kameron Segal                7190 Sunset Blvd. Ste. 290                              Chase Bank                     •   D        2.2
                                       Los Angeles, CA 90046                                                                  C E/F




   2.2    Kameron Segal                7190 Sunset Blvd. Ste. 290                              Newrez                         I D          2.15
                                       Los Angeles, CA 90046                                                                  uElF
                                                                                                                              DG




   2.3    Kameron Segal               7190 Sunset Blvd. Ste. 290                               Specialized Portfolio          I D          2.20
                                      Los Angeles, CA 90046                                    Servicing                      C F/F
                                                                                                                              CG




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
      ______        _______
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                                    ___________
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 Fill in this information to identify the case:
 Debtor name         William Holdings, LLC

 United States Bankruptcy Court for the:      CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)       2:22-bk-I 4708-DS
                                                                                                                                 D Check it this is an
                                                                                                                                   amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                 04122

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 -.            Income

1.    Gross revenue from business

          None.

       Identify the beginning and ending dates of the debtor’s fiscal year,              Sources of revenue                          Gross revenue
       which may be a calendar year                                                      Check all that apply                        (before deductions and
                                                                                                                                     exclusions)

        From the beginning of the fiscal year to filing date:                            • Operating a business                                  $75,000.00
        From 1/01/2022 to Filing Date
                                                                                         J Other



        For prior year:                                                                  • Operating a business                                $900,000.00
        From 110112021 to 12/31/2021
                                                                                         D   Other



        For year before that:                                                            • Operating a business                                $200,000.00
        From 1/01/2020 to 12/31/2020
                                                                                             Other

2.    Non-business revenue
      Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
      and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       • None.

                                                                                         Description of sources of revenue           Gross revenue from
                                                                                                                                     each source
                                                                                                                                     (before deductions and
                                                                                                                                     exclusions)

IiI List Certain Transfers Made Before Filingor Bankruptcy

3.    Certain payments or transfers to creditors within 90 days before filing this case
      List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
      filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on
                                                                                                                                                    4/01/25
      and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

        Creditor’s Name and Address                                  Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                         Check all that apply




                                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
Official Form 207
                                                                                                       _
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                                                                                             43 r (1 known) 2:22-bk-14708-DS
Debtor             William Holdings, LLC


                                                                             Dates                   Total amount of value         Reasons for payment or transfer
           Creditor’s Name and Address                                                                                             Checkall that apply

            3.1.                                                             June 2022                            $3,300.00            Secured debt
                    Mercedez Benz Financial
                                                                             July 2022                                                 Unsecured loan re p a y ments
                    14372 Heritage Pkwy,                                                                                                      .




                    Fort Worth, TX 76177                                     August 2022                                               Suppliers or vendors
                                                                                                                                       Services
                                                                                                                                     • Other Auto Lease



                                                                                                                                       insider
                                                                          1 year before filing this case that benefited any
4.        Payments or other transfers of property made within                           within  1 year   before filing this case on debts owed to an insider
                                                                                                                                                                   or guaranteed
                                               ing expens  e  reimbu  rsemen  ts, made                                                                                  amount
          List payments or transfers, includ                                                                                of the  insider is less than $7,575 . (This
                                                                value of all property transferred to or for the benefit
          or cosigned by an insider unless the aggregate                              t to cases   filed on or after  the date   of adjustm  ent.) Do not include any payments
                                                                     that with respec
          may be adjusted on 4/01/25 and every 3 years after                                                              their relatives; general partners of a partnership
                                                                  and anyone in control of a corporate debtor and
          listed in line 3. Insiders include officers, directors,                                                     ing agent of the debtor. 11 U.S.C. § 101 (31).
                                                                      insiders of such affiliates; and any manag
          debtor and their relatives; affiliates of the debtor and

           C   None.
                                                                                                      Total amount of value          Reasons for payment or transfer
                                                                              Dates
             Insider’s name and address
            Relationship to debtor                                                                                                   Operating the business
                                                                              2022                                $20,000.00
            4.1. Kameron Segal
                  7190 Sunset Blvd. Ste. 290
                  Los Angeles, CA 90046
            PripciaI

          Repossessions, foreclosures, and returns                                                                      ing property repossessed by a creditor, sold at
 5.
          List all property of the debtor that was obtained by
                                                               a creditor within 1 year before filing this case, includ property listed in line 6.
                                                                                                           not includ e
                                                            of foreclosure, or returned to the seller. Do
          a foreclosure sale, transferred by a deed in lieu

            • None
                                                                                                                                   Date                      Value of property
             Creditor’s name and address                          Describe of the Property


                                                                                                                                                              an account
 6.        Setoffs                                                                                          this case set off or otherwise took anything from
                                                            institution, that within 90 days before filing
           List any creditor, including a bank or financial                                  ’s directi on from  an accoun t  of the debtor because the debtor owed a
                                                            make a payment at the debtor
           of the debtor without permission or refused to
           debt.

             • None
                                                                                                                                   Date action was                      Amount
               Creditor’s name and address                         Description of the action creditor took                         taken


                     Legal Actions or Assignments
                                                                                                                     audits
                                                             actions, executions, attachments, or governmental
     7.     Legal actions, administrative proceedings, court     tions, mediations, and audits by federal or state
                                                                                                                   agencies in which the debtor was involved
                                                               , arbitra
            List the legal actions, proceedings, investigations
            in any capacity—within 1 year before filing this case.

              • None.
                                                                                                  Court or agency’s name and                Status of case
                       Case title                                   Nature of case
                                                                                                  address
                       Case number

     8. Assignments and receivership                                                                               filing this case and any property in the hands of a
                                                               the benefit of creditors during the 120 days before
            List any property in the hands of an assignee for
                                                                  within 1 year before filing this case.
            receiver, custodian, or other court-appointed officer

               • None


                                                s
      Certain Gifts and Charitable Contribution

                                                                                                                                                                             page 2
                                                                                                         als Filing for Bankruptcy
                                                         Statement of Financial Affairs for Non-Individu
      Official Form 207
                                                                               ________
                                                                              _________ __________________
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                                                                                                                         ________________________________
                                                                                                                            __________________________




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 Debtor        William Holdings, LLC                                                                    Case number or known) 2:22-bk-14708-DS



9.   List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
     the gifts to that recipient is less than $1,000

      • None

                Recipient’s name and address           Description of the gifts or contributions                     Dates given                        Value


ITI.           Certain   Losses




10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      I None

       Description of the property lost and            Amount of payments received for the loss                      Dates of loss         Value of property
       how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets   —   Real and Personal Property).

ITiI Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

      D None.
                Who was paid or who received              If not money, describe any property transferred               Dates               Total amount or
                the transfer?                                                                                                                         value
                Address
       11.1.    Law Offices of Michael Jay
                Berge r
                9454 Wilshire Boulevard, 6th
                floor
                Beverly Hills, CA 90212                   Attorney Fees                                                 812412022_—              $20,000.00

                Email or website address
                michael.bergerbankruptcypower.c
                om

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      • None.

       Name of trust or device                            Describe any property transferred                        Dates transfers          Total amount or
                                                                                                                   were made                         value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      D None.
               Who received transfer?                  Description of property transferred or                        Date transfer          Total amount or
               Address                                 payments received or debts paid in exchange                   was made                        value
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 3
                ____________________________                __________________________________________
                                                                                  _______________________
                                                                                   __________________________
                                                                                                                                              _________
                                                                                                                                     ________________
                                                                                                                                       _____________
                                                                                                                         _____________________________
                                                                                                                 _________
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 Debtor        William Holdings, LLC                                                               Case number   (if known)   2:22-bk-14708-DS



                 Who received transfer?                    Description of property transferred or                  Date transfer             Total amount or
                 Address                                   payments received or debts paid in exchange             was made                            value
        13 1                                               Debtor’s Counsel is investigating the
                                                           effect of an agreement entitled KLFJ
                 KLFJ Partnership Agreement                Partnership Agreement that purports to                  August 12,
                                                           transfer interests in Debtor’s property.                2022                            Unknown

                 Relationship to debtor




                Previous   Locations
•TiW




14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


        • Does not apply

                  Address                                                                                            Dates of occupancy
                                                                                                                     From-To

imi;            Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

        •      No. Go to Part 9.
               Yes. Fill in the information below.


                  Facility name and address                Nature of the business operation, including type of services             If debtor provides meals
                                                           the debtor provides                                                      and housing, number of
                                                                                                                                    patients in debtor’s care

I1Th            Personally Identifiable Information                                                                                                             -




16. Does the debtor collect and retain personally identifiable information of customers?

        I      No.
               Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

        I      No. Go to Part 10.
               Yes. Does the debtor serve as plan administrator?


                Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

        • None
                  Financial Institution name and           Last 4 digits of           Type of account or     Date account was                    Last balance
                  Address                                  account number             instrument             closed, sold,                  before closing or
                                                                                                             moved, or                               transfer
                                                                                                             transferred

19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page   4
                                                                                                __________  ____________________________________
                                                                                              _____________________________-                            ________




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 Debtor        William Holdings, LLC                                                               Case number    (if known)   2:22-bk-14708-DS


      case.


       • None

        Depository institution name and address               Names of anyone with                   Description of the contents                  Does debtor
                                                              access to it                                                                        still have it?
                                                              Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       I None

        Facility name and address                             Names of anyone with                   Description of the contents                  Does debtor
                                                              access to it                                                                        still have it?


I1ThI          Prqprty the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

      • None


IThV Details About Environment Information                                                                                                   --




For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

       Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
       owned, operated, or utilized.

       Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
       similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22.    Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

       •      No.
       C      Yes. Provide details below.

       Case title                                             Court or agency name and               Nature of the case                           Status of case
       Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

       •      No.
       C      Yes. Provide details below.

       Site name and address                                  Governmental unit name and                 Environmental law, if known              Date of notice
                                                              address

24. Has the debtor notified any governmental unit of any release of hazardous material?

       •      No.
       C      Yes. Provide details below.

       Site name and address                                  Governmental unit name and                 Environmental law, if known              Date of notice
                                                              address

Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 5
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              Details About the Debtor’s Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       • None

    Business name address                             Describe the nature of the business              Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
         D None

       Name and address                                                                                                                Date of service
                                                                                                                                       From-To
       26a.1.       LeonTsipis                                                                                                         2017-present
                    17337 Ventura Blvd., Ste. 100
                    Encino, CA 91316

     26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
          within 2 years before filing this case.

           • None


     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           • None

       Name and address                                                                               If any books of account and records are
                                                                                                      unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

          • None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

      •    No
           Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                   Address                                             Position and nature of any                    % of interest, if
                                                                                                  interest                                      any
       Kameron Segal                          7190 Sunset Blvd. Ste. 290                          Chief Executive Officer                       99%
                                              Los Angeles, CA 90046

       Name                                   Address                                             Position and nature of any                   % of interest, if
                                                                                                  interest                                     any
      Juan Wilfredo Pesante                   100 Briers Ridge                                    Chief Financial Officer
                                              Fayetteville, GA 30214



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 6
                                                                                                      _____




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 Debtor       William Holdings, LLC                                                              Case number    (if known)   2:22-bk-14708-DS



           Name                                Address                                            Position and nature of any               % of interest, if
                                                                                                  interest                                 any
           Frank Romanose                      4557 Camellia Ave                                  Chief Information Officer
                                               North Hollywood, CA 91602

           Name                                Address                                             Position and nature of any              % of interest, if
                                                                                                   interest                                any
           Daishon Simmons                     4236 Sublime Trail                                  Chief Operating Officer
                                               Atlanta, GA 30349

           Name                                Address                                            Position and nature of any               % of interest, if
                                                                                                  interest                                 any
           Kameron Segal Corporation           7190 Sunset Blvd, Ste. 290                         Shareholder                              1%
                                               Los Angeles, CA 90046



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


      •       No
              Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

      No
      •       Yes. Identify below.

                  Name and address of recipient          Amount of money or description and value of              Dates                Reason for
                                                         property                                                                      providing the value
       30.1       Kameron Segal
                  7190 Sunset Blvd. Ste. 290                                                                                           Operating the
                                                         $8,000.00                                                812022               business
                  Los Angeles, CA 90046

                  Relationship to debtor
                  CEO


       30.2       Juan Wilfredo Pesante
                  100 Briers Ridge                                                                                                     Operating the
                  Fayetteville, GA 30214                 $8,000.00                                                8/2022               business

                  Relationship to debtor
                  CFO


      30.3        Frank Romanose
       .          4557 Camellia Ave                                                                                                    Operating the
               jollwood, CA 91602                      $8,000.00                                                  8/2022               business

                  Relationship to debtor
                  ClO


      30.4 Daishon Simmons
           4236 Sublime Trail                                                                                                          Operating the
           Atlanta, GA 30349                           $8,000.00                                                  8/2022               business

                  Relationship to debtor
                  COO


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 7
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                                                                               ___________




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82030 (Form 2030) (12/1 5)
                                                              United States Bankruptcy Court
                                                                  Central District of California
     In re        William Holdings, LLC                                                                            Case No.     2:22-bk-I 4708-DS
                                                                                   Debtor(s)                       Chapter      11


                              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
         Pursuant to II U .S.C. * 329(a) and Fed. Bankr. P. 20 16(b), 1 certif’ that I am the attorney for the above named debtor(s) and that
         compensation paid tome within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
         be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
                   For legal services, I have agreed to accept A RETAINER OF                                   $                20,000.00
                   Prior to the filing of this statement I have received A RETAINER OF                         $                20,000.00
                   Balance Due                                                                                 $                       0.00

2.       The source of the compensation paid to me was:

                   F7]   Debtor      LI    Other (specify):

3.       The source of compensation to be paid tome is:

                   [j Debtor         LI    Other (specify):

4.           []   I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

             LI   I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
                  copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.           In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

             a.   Analysis of the debtors financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy:
             b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required:
             c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
             d.   [Other provisions as neededj


6.           By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                          CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or rangement for payment to me for representation of the debtor(s) in
 this bankruptcy
                                                                                  jy/,
                                                                                   Signature ofAttornev  /
                                                                                  Law Offices of MichaelLLay Berger
                                                                                   9454 Wilshire Boulevard, 6th floor
                                                                                   Beverly Hills, CA 90212
                                                                                   (310) 271-6223 Fax: (310) 271-9805

                                                                                   Name oflawJirm
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                    William Holdings, LLC
                    7190W. Sunset Blvd., Ste. 290
                    Los Angeles, CA 90046


                    Michael Jay Berger
                    Law Offices of Michael Jay Berger
                    9454 Wilshire Boulevard, 6th floor
                    Beverly Hills, CA 90212


                    A2/Beverlywood/AAA Pest Control
                    P0 Box 249
                    Lawndale, CA 90260


                    Athens Services
                    14048 East Valley Blvd.
                    La Puente, CA 91746


                    xos Bank
                    Attn: Michelle Barisdale
                    4350 La Jolla Village Dr. Ste. 140
                    San Diego, CA 92122


                    Axos Bank
                    P0 Box 80471
                    City of Industry,     CA 91716


                    Axos Bank
                    4350 La Jolla Village Dr., Ste. 140
                    San Diego, CA 92122


                    Chase Bank
                    1111 Polaris Pkwy
                    Columbus, OH 43240
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                    Franchise Tax Board
                    Bankruptcy Section MS: A-340
                    P0 Box 2952
                    Sacramento, CA 95812-2952


                    Frank Romanose
                    4557 Camillia Ave
                    North Hollywood, CA 91602


                    Hollywood Versailles Tower H0A
                    c/o Ross Morgan & Co.
                    P0 Box 512019
                    Los Angeles, CA 90051


                    IRS
                    P.O. Box 7346
                    Philadelphia,     PA 19101


                    Kameron Segal
                    7190 Sunset Blvd. Ste. 290
                    Los Angeles, CA 90046


                    LADWP
                    111 N. Hope St.
                    Los Angeles, CA 90012


                    Lease Agreements



                    Los Angeles Counrty Tax Collector
                    Bankruptcy Unit
                    P0 Box 54110
                    Los Angeles, CA 90054-0027
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                   Los Angeles County Tax Collector
                   225 N. Hill St., #1
                   Los Angeles, CA 90012


                   Mercedez Benz Financial
                   14372 Heritage Pkwy,
                   Fort Worth, TX 76177


                   Michael and Ann Popovich
                   172 Mission Oaks Rd
                   Fallbrook, CA 92028


                   Newrez
                   123 N. Lake Ave Ste. 100
                   Pasadena, CA 91101


                    NewRez
                    c/o PHH Mortgage
                    1 Mortgage Way Mount
                    Mount Laurel, NJ 08054


                    Ne wRe z
                    c/o Phh Mortgage
                    P.O. Box 5452
                    Mount Laurel, NJ 08054


                    Opus Bank
                    19900 MaCarthur Blvd., 12th Fl
                    Irvine, CA 92612


                    Pacific Premier Bank
                    17901 Von Karman Ave. Ste. 1200
                    Irvine, CA 92614
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                    Pacific Premier Bank
                    c/c Knapp Petersen Clarke
                    550 North Brand Blvd., Ste. 1500
                    Glendale, CA 91203


                    Republic Services
                    12949 Telegraph Rd.
                    Santa Fe Springs, CA 90670


                    Reveles Landscaping
                    15888 Roxford St.,
                    Sylmar, CA 91342


                    Satinder Sadhar
                    17 Angelo Court
                    Monroe Township,     NJ 08831


                    SCE
                    2244 Walnut Grove Ave
                    Rosemead, CA 91770


                    SoCal Gas
                    1801 S. Atlantic Blvd.
                    Monterey Park, CA 91754


                    Specialized Loan Servicing
                    c/c Investment Mortgage Company, LL
                    31194 La Baya Dr. #106
                    Thousand Oaks, CA 91362


                    Specialized Portfolio Servicing
                    8742 Lucent Blvd., Ste. 300
                    Littleton, CO 80129
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                    Standard Oil Credit Investments LLC
                    113 N. San Vicente BLvd., Ste. 300
                    Beverly Hills, CA 90211


                    U.S. Small Business Administration
                    c/c Elan S. Levey
                    300 N. Los Angeles Street
                    Fed. Bldg. Rm. 7516
                    Los Angeles, CA 90012
